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                    EXHIBIT 5
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


    IN RE NATIONAL PRESCRIPTION                     MDL No. 2804
    OPIATE LITIGATION
                                                    Case No. 17-md-2804
    This document relates to:
    The County of Summit, Ohio, et al. v. Purdue    Judge Dan Aaron Polster
    Pharma L.P., et al.
    Case No. 18-op-45090


                 SUMMIT COUNTY, OHIO PLAINTIFF ENTITIES
                   INITIAL RESPONSES AND OBJECTIONS TO
          MANUFACTURER DEFENDANTS’ FIRST SET OF INTERROGATORIES

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Case

Management Order in In re National Prescription Opiate Litigation, No. 1:17-cv-2804 (Dkt No.

232), the County of Summit, Ohio; the Summit County Combined General Health District; the

City of Akron, Ohio; the City of Barberton, Ohio; the Village of Clinton, Ohio; Copley Township,

Ohio; Coventry Township, Ohio; the City of Cuyahoga Falls, Ohio; the City of Fairlawn, Ohio;

the City of Green, Ohio; the Village of Lakemore, Ohio; the Village of Mogadore, Ohio; the City

of Munrowe Falls, Ohio; the City of Norton, Ohio, the Village of Peninsula, Ohio; the Village of

Richfield, Ohio; the Village of Silver Lake, Ohio; Springfield Township, Ohio; the City of Stow,

Ohio; the City of Tallmadge, Ohio; the City of New Franklin, Ohio; and the Valley Fire District

(collectively “Plaintiff”) hereby responds to the Manufacturer Defendants’1 First Set of

Interrogatories (the “Interrogatories” and, each individually, an “Interrogatory”), as follows:




1
 The Manufacturer Defendants are Endo Pharmaceuticals Inc.; Endo Health Solutions Inc.; Purdue
Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company Inc.; Teva Pharmaceuticals
USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-
Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc.
n/k/a Janssen Pharmaceuticals, Inc.; and Insys Therapeutics, Inc.
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                                            OBJECTIONS

        The following objections apply to each Interrogatory. To the extent that certain specific

objections are cited in response to an individual Interrogatory, those specific objections are

provided because they are applicable to that specific Interrogatory and are not a waiver of the

other objections applicable to information falling within the scope of such Interrogatory.

        1.       Plaintiff objects to each Interrogatory to the extent they are overly broad, vague,

unduly burdensome, seek information that is not relevant to any party’s claim or defense, or seek

to impose obligations or require actions beyond those required by the Federal Rules of Civil

Procedure, the ESI Protocol entered in this matter or the Local Rules of the United States District

Court of the Northern District of Ohio.

        2.       Plaintiff objects to each Interrogatory to the extent they seek information restricted

from dissemination pursuant to court order, statute, or regulation. Further, any response made by

Plaintiff to the Interrogatories is not intended to waive, and does not constitute any waiver of, any

objection to the admissibility, authenticity, competency or relevance of the information produced

or identified.

        3.       These responses are made solely for the purpose of and in relation to this action.

Each answer is given subject to all appropriate objections, which would require the exclusion at

trial of any statement contained or document provided herein. All such objections and the grounds

therefore are hereby reserved.

        4.       No admission of any nature whatsoever is to be implied or inferred in these

responses. The fact that any of the Interrogatories herein may have been answered should not be

taken as an admission or a concession of the existence of any facts set forth or assumed by the

Interrogatories, or that such answer constitutes evidence of any fact thus set forth or assumed.

        5.       Plaintiff objects to each Interrogatory to the extent Plaintiff has not yet completed

its investigation of the facts relating to this action and has not yet completed its preparation for


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trial. Accordingly, these responses are necessarily limited in nature, and reflect only that

information known to Plaintiff at this time.

       6.      Plaintiff objects to each Interrogatory to the extent they purport to require Plaintiff

to disclose information or produce documents that are in the public domain or otherwise available

to Manufacturer Defendants as easily from other sources as from Plaintiff, and thus would impose

an undue cost and burden on Plaintiff to collect such information.

       7.      Plaintiff objects to each Interrogatory to the extent they purport to state facts,

assumptions, or characterizations that are disputed.

       8.      Plaintiff objects to each Interrogatory to the extent they seek information more

appropriately obtained through other methods of discovery.

       9.      Plaintiff objects to each Interrogatory to the extent that they seek information that

is proprietary or confidential or that is protected from discovery as attorney work product or

attorney-client communication, information gathered or prepared in anticipation of litigation, the

public interest privilege, law enforcement privilege, public official privilege, and/or by any other

privilege or immunity from disclosure (collectively, “Privileged Information”).

       10.     Plaintiff objects to each Interrogatory to the extent they seek confidential

investigative, personal, or health information in Plaintiff’s possession, custody, or control

(collectively, “Confidential Information”).

       11.     Whenever in the responses Plaintiff employs the phrase “subject to and without

waiving all objections,” Plaintiff is responding to the Interrogatory as it may be narrowed by its

general and specific objections and without waiver of any objection.

       12.     Any response stating that Plaintiff will produce documents shall be deemed

followed by the phrase “as are within Plaintiff’s possession, custody, or control.”

       13.     Plaintiff objects to each Interrogatory to the extent that they imply the existence of

facts or circumstances that do not or did not exist, and to the extent that it states or assumes legal


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conclusions. In providing these objections and responses, Plaintiff does not admit the factual or

legal premise of any Interrogatory.

        14.      Plaintiff’s lack of objection to any specific Interrogatory is not an admission that

Plaintiff has possession, custody or control over any such information; and any statement by

Plaintiff that it will search for or produce documents does not mean that Plaintiff has possession,

custody or control of any responsive document, or that any such documents exist.

        15.      Plaintiff objects to each Interrogatory to the extent they seek information that is not

within Plaintiff’s possession, custody, or control, seek documents that do not already exist, or

which purport to require a response by Plaintiff on behalf of an entity or individual other than

Plaintiff.

        16.      Plaintiff intends to complete its responses by the time agreed upon by the parties

for the completion of discovery, or by the date ordered by the Court. Upon request by the

requesting party, Plaintiff is willing to meet and confer regarding its responses to the

Interrogatories. All final decisions regarding whether any information will be withheld pursuant

to any objection shall be made, and notice thereof provided, before the completion of written

discovery.

        17.      Plaintiff objects to the Manufacturer Defendants’ instruction that: “Each Plaintiff

must individually respond to each of these Interrogatories.” No federal rule prevents Plaintiff

from submitting collective answers to Manufacturer Defendants’ collective Interrogatories.

Where the responses and objections to these Interrogatories are the same for each Plaintiff, a

collective response herein will in no way prejudice Defendants. In each instance where the

answers are not the same for each Plaintiff, any differences have been set forth herein with

particularity.




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                                          NON-WAIVER

       1.      Plaintiff’s responses are made without waiving its right to object (on the grounds

of relevancy, hearsay, materiality, competency or any other ground) to the use of its responses in

any subsequent stage or proceeding in this action or any other action.

       2.      If Plaintiff, in response to any Interrogatory, inadvertently discloses information

that is or could be the subject of the objections stated herein, such disclosure is not intended to be,

nor is it deemed to be, a waiver of the objections with respect to such information disclosed.

       3.      Plaintiff’s failure to object to a specific Interrogatory on a particular ground or

grounds shall not be construed as a waiver of its rights to object on any additional grounds.

       4.      Plaintiff responds herein based upon information it has been reasonably able to

gather at the time of making these responses. Plaintiff reserves its right to amend and/or to

supplement its objections and responses to the Interrogatories, consistent with further

investigation and discovery.

                         SPECIFIC RESPONSES AND OBJECTIONS

INTERROGATORY NO. 1:

       Identify each and every doctor or other healthcare provider who Plaintiff alleges

participated in “speaker programs” or “speakers’ bureaus” on behalf of or in relation to any

Defendant, as alleged in Plaintiff’s Complaint. For each identified doctor or other healthcare

provider, please also identify in the response the events or programs that Plaintiff alleges the

doctor or other healthcare provider attended or spoke at and identify the amount of payment

allegedly provided by each Defendant.

PLAINTIFFS’ RESPONSE:

       Plaintiff objects to this Interrogatory as vague, overly broad and unduly burdensome to the

extent it requests “each and every” doctor or healthcare provider who “participated” in “speaker

programs” or “speakers’ bureaus”. Further objecting, Plaintiff objects to this Interrogatory as


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overly broad and also to the extent it seeks information that is in Defendants’ possession or

publicly available, and thus seeks to impose an undue burden and unnecessary expense on

Plaintiff. Each Defendant has, or should have, records that identify each and every doctor or

other healthcare provider who participated in “speaker programs” or “speakers’ bureaus” on

behalf of or in relation to the subject Defendant. Therefore, Defendants have far superior access

to this information which is also the subject of Plaintiff’s discovery in this case. Notwithstanding

and without waiving this objection, Plaintiff will conduct a reasonable and diligent search for and,

if such information is in Plaintiff’s possession, custody, or control, will produce documents that

identify doctors and healthcare providers wo participated in “speaker programs” or “speakers’

bureaus”. Subject to and without waiving objections, once Plaintiff has this information, Plaintiff

will provide it.



INTERROGATORY NO. 2:

        Identify each entity or natural person, including without limitation healthcare providers,

patients, addiction treatment specialists, alleged key opinion leaders (as that term is used

throughout the Complaint), alleged front groups, or any other third party, from whom Plaintiff

received or attempted to obtain documents, testimony, sworn affidavits, or any other form of

information in connection with Plaintiff’s investigation of any Defendant’s advertising or

marketing of opioids, or otherwise in connection with this litigation, and include in the response

identification of all information sought or received from each entity or natural person.

PLAINTIFF’S RESPONSE:

        Plaintiff objects to this Interrogatory as overly broad, vague and ambiguous in that it fails

to adequately or specifically define the term “entity or natural person” from whom each Plaintiff

received information, and Plaintiff therefore will construe the term to exclude entities and natural

persons who are part of the subject Plaintiff’s governmental structure. Plaintiff also objects to


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this Interrogatory on the grounds that it calls for production of information subject to the work-

product doctrine, especially to the extent the Interrogatory seeks the identification of entities and

natural persons from whom Plaintiff “attempted” to obtain information in furtherance of

Plaintiff’s “investigation.” Disclosure of such information necessarily would reveal Plaintiff’s

and its counsel’s mental impressions and legal strategies formed in anticipation of this litigation,

and is therefore objectionable. Lastly, discovery continues and Plaintiff will produce a trial

witness list and expert reports pursuant to CMO No. 1 and the Federal Rules of Civil Procedure.

       Notwithstanding and without waiving all objections, Plaintiff received documents,

evidence or other information from sources, including, but not limited to, the following

individuals:



 Name                Title                         General description
 Dr. William         Doctor                        Visited by drug reps: Nucynta, Purdue, Actiq,
 Reed                                              Opana, Kadian
 Dr. William         Doctor                        Visited by Purdue, Opana, Nucynta,
 Lonsdorf
 Dr. Kendrick        Doctor                        Visited by drug reps: Purdue
 Bashor
 Dr. Michael         Doctor                        Visited by drug reps: Purdue, Xtampza,
 Louwers                                           Nucynta, Actiq/Fentora
 Dr. Syed Ali        Doctor                        Visited by drug reps: Purdue, Xtampza,
                                                   Nucynta-Janssen/Depomed, Teva, Subsys, Endo,
                                                   Cephalon, Xalgo, Kadian, Insys
 Dr. Clayton         Doctor                        Visited by drug reps: Purdue. Was a speaker for
 Seiple                                            Endo, Depomed (Nucynta)
 Bernie Rochford     Executive Vice President      Treatment center for those suffering from OUD,
                     of Administrative             knowledgeable on trends, prevalence and impact
                     Services and Business         of opioids
                     Relations, Oriana House
 Galen Sievert       Clinical Supervisor,          Treatment center for those suffering from OUD,
                     Mature Services               knowledgeable on trends, prevalence and impact
                                                   of opioids
 Laura Kidd          Behavioral Health             Treatment center for those suffering from OUD,
                     Clinical Coordinator,         knowledgeable on trends, prevalence and impact
                     AxessPointe Community         of opioids
                     Health Center at
                     Arlington



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 James Orlando       President of Summit           Treatment center for those suffering from OUD,
                     Psychological Associates      knowledgeable on trends, prevalence and impact
                                                   of opioids
 Brittney Becker     Doctor, Community             Treatment center for those suffering from OUD,
                     Health Center                 knowledgeable on trends, prevalence and impact
                                                   of opioids
 Michael M.          President, Summa Health       Illnesses related to opioid use
 Hughes              System, Barberton
                     Campus
 Joseph P. Myers     Doctor, Vice President of     Illnesses related to opioid use
                     Medical Affairs, Summa
                     Barberton and Summa
                     Wadsworth-Rittman
                     Hospitals
 Roslyn Greene       Family member                 Personal loss
 Charlene Maxen      Pediatric oncologist          Personal loss
                     nurse, Akron Children’s
                     Hospital
 Travis Bornstein    Family member                 Personal loss




INTERROGATORY NO. 3:

       Identify any doctors, addiction treatment specialists, healthcare providers, and law

enforcement and public health officials who Plaintiff contends agree with the proposition that

prescription opioids have caused or contributed to the opioid epidemic (as that term is used

throughout the Complaint).

PLAINTIFF’S RESPONSE:

       Plaintiff objects to this Interrogatory as vastly over-broad and unduly burdensome.

Plaintiff objects to the extent it requests “any” doctors, addiction treatment specialists, health care

providers and law enforcement and public health officials that agree with the proposition that

prescription opioids have caused or contributed to the opioid epidemic. Plaintiff further responds

that this Interrogatory is contention discovery more appropriately answered once discovery is

complete, or until a pre-trial conference. See FRCP 33(a)(2). Plaintiff will construe the phrase

“Plaintiff contends” to refer to any such contentions in Plaintiff’s Second Amended Complaint,

and Plaintiff refers Defendants to Plaintiff’s Second Amended Complaint for this information.
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Plaintiff objects to this Interrogatory as vague, ambiguous and calling for speculation in seeking

information about the beliefs of individual third parties. Plaintiff notes that there is a vast amount

of peer-reviewed and other literature, testimony before public entities, and on-line information in

the public domain, equally available to Defendants, which may provide the answer, at least in

large part, to Defendants’ Interrogatory. Lastly, discovery continues and Plaintiff will produce a

trial witness list and expert reports pursuant to CMO No. 1 and the Federal Rules of Civil

Procedure.



INTERROGATORY NO. 4:

       Describe each cost, expenditure, damage, loss, or harm for which Plaintiff seeks equitable

or monetary relief, including any penalty or fine, from each Defendant. For each cost,

expenditure, damage, loss, penalty, fine or harm for which Plaintiff seeks relief, provide (i) the

nature and amount of that cost, expenditure, damage, loss, penalty, fine or harm; (ii) the

Defendant or Defendants from which the relief is sought; and (iii) how and by whom the cost,

expenditure, damage, loss, penalty, fine, or harm was determined and calculated, and the specific

conduct of that Defendant or those Defendants that allegedly caused the cost, expenditure,

damage, loss, penalty, fine, or harm.

PLAINTIFF’S RESPONSE:

       Plaintiff objects to this Interrogatory as overly broad as propounded, to the extent that it is

vague and ambiguous in failing to adequately and specifically define the term “harm,” and in that

it calls for Plaintiff to identify the specific conduct of each Defendant. Subject to and without

waiving objections, for the identification of the Defendant or Defendants from which relief is

sought, Plaintiff refers Defendants to Plaintiff’s Second Amended Complaint. Plaintiff further

responds as follows:




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        Subject to and without waiving all objections, Plaintiff will conduct a reasonable and

diligent search for and will produce all non-privileged documents and communication that are

sufficient to identify, describe and quantify the monetary and other relief Plaintiff seeks in this

case.

        In addition, Plaintiff’s investigation of its damages caused by the Defendants is ongoing

and will be the subject of fully-supported and detailed expert witness opinion(s) that will be

disclosed in accordance with CMO No. 1 and the Federal Rules of Civil Procedure.

        Further subject to and without waiving all objections, Plaintiff identifies the following

non-exhaustive list of programs and other expenditures either that have been initiated because of

the opioid crisis or which have experienced increased funding needs because of the opioid crisis.

Such programs and expenditures include, but are not limited to, the following:



Jurisdiction          Efforts to Address Opioid Epidemic
Summit County           Summit County Alcohol, Drug Addiction and Mental Health
                          Board: Quick Response Teams, DAWN, Addiction Helpline; Opiate
                          Task Force and the planning, maintaining and executing responses to
                          the opioid epidemic; purchase of Narcan; manages waitlists for
                          residential treatment facilities; additional training, education and
                          treatment;
                           Summit County Medical Examiner: increased number of deaths
                            caused by the opioid epidemic for the Summit County Medical
                            Examiner’s office to process and investigate; additional staffing and
                            resources, additional costs for contractors/vendors;
                           Summit County Prosecutors: increased caseload and prosecutions
                            relating to the opioid epidemic;
                           Summit County Court of Common Pleas (including probation and
                            specialty courts, like drug court): increased caseload and probation
                            services relating to the opioid epidemic; Opioid Unit in adult
                            probation department; two drug court judges do community outreach
                            re opioids and other drugs; Indigent Defense – increased County
                            expenditures to fund this Court program for indigent defendants;
                           Summit County Juvenile Court (including probation and specialty
                            courts): increase in number of parents participating in Family
                            Reunification Through Recovery Court due to opioid use; increase in
                            staff trainings related to opioid use;


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                     Summit County Children Family Services: host Northeast Ohio
                      Regional Training Center which provides trainings related to opioids,
                      25% of the staff trainings they do relate to opioids; social workers
                      who exclusively deal with families and substance abuse issues;
                      collaborate with juvenile court program, Family Reunifications
                      through Recovery; Oriana House; provides licensure hours for Close
                      Up which addresses opioids increased costs due to increased
                      placement of children abused and neglected due to opioid addictions;
                     Summit County Sheriff: services, including but not limited to,
                      training, investigations, staffing, jail expenses, dispatch services, task
                      force as a result of the opioid epidemic; members of Quick Response
                      Team; DARE education; drug task force members meet with
                      community organizations to discuss opioids; drug take back days;
                      implement House Bill 277 aka Good Samaritan Law; receive Narcan
                      training;
                     Summit County General Health District: purchase of Narcan; Quick
                      Response Team; Syringe Harm Reduction Program; educational
                      campaigns, expanded medically assisted treatment programs;
                     Summit County Executive: Incident Management Assistance Team
                      (“IMAT”) coordinates activities of the Opiate Task Force and the
                      Addiction Counsel


Akron                Opioid-focused Quick Response Team (QRT);
                     Purchases of Narcan, drug testing kits, and Immunity Hearing
                      Requirement forms;
                     Increased Police/Fire/EMS service calls for overdoses;
                     Increased Police Division services for opioid investigations,
                      including training, detailing of staff to task forces;
                     Safety Communications handling of increased dispatches and related
                      Police/Fire/EMS support;
                     Law Department Criminal Division’s increased prosecutions relating
                      to the opioid epidemic;
                     Municipal Court’s increased caseload and probation load relating to
                      the opioid epidemic;
                     Planning and executing a response to the opioid epidemic, including
                      community educational awareness by Police, the Mayor’s office, and
                      other city departments;
                     Funding of third party entities that provide various support services
                      related to the opioid epidemic, including Oriana House, Interval
                      Brotherhood Home, Summit Co. Public Health, etc.

                 http://www.akronohio.gov/


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Barberton                  Increased Police/Fire/EMS service calls for overdoses

                       http://www.cityofbarberton.com

Cuyahoga Falls             Increased Police/Fire/EMS service calls for overdoses

                       http://www.cityofcf.com

City of Fairlawn           Increased Police/Fire/EMS service calls for overdoses

                       http://www.cityoffairlawn.com

City of Green              Increased Police/Fire/EMS service calls for overdoses

                       https://www.cityofgreen.org

City of Stow               Increased Police/Fire/EMS service calls for overdoses

                       http://stowohio.org

City of Tallmadge          Increased Police/Fire/EMS service calls for overdoses

                       https://tallmadge-ohio.org

Village of Boston          Increased Police/Fire/EMS service calls for overdoses
Heights
                       http://www.villageofbostonheights.com

Village of Clinton         Increased Police/Fire/EMS service calls for overdoses

                       http://clintonvillageohio.com

Village of Mogadore        Increased Police/Fire/EMS service calls for overdoses

                       http://mogadorevillage.org

Village of Peninsula       Increased Police/Fire/EMS service calls for overdoses

                       http://villageofpeninsula-oh.gov

Village of Richfiled       Increased Police/Fire/EMS service calls for overdoses

                       https://www.richfieldvillageohio.org

Boston Township            Increased Police/Fire/EMS service calls for overdoses

                       https://www.bostontownship.org
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Copley Township            Increased Police/Fire/EMS service calls for overdoses

                       http://www.copley.oh.us

Coventry Township          Increased Police/Fire/EMS service calls for overdoses

                       http://www.coventrytownship.com

Valley Fire District       Increased Police/Fire/EMS service calls for overdoses

                       http://www.valleyfire.us

Summit County              Increased Police/Fire/EMS service calls for overdoses
Combined General
Health District         http://www.scph.org

Village of Lakemore        Increased Police/Fire/EMS service calls for overdoses

                            http://www.lakemoreohio.org

Munroe Falls               Increased Police/Fire/EMS service calls for overdoses

                            http://www.munroefalls.com

Norton                     Increased Police/Fire/EMS service calls for overdoses

                            http://www.cityofnorton.org

Village of Silver          Increased Police/Fire/EMS service calls for overdoses
Lake
                            http://www.villageofsilverlake.com

Springfield                Increased Police/Fire/EMS service calls for overdoses
Township
                            http://www.springfieldtownship.us

City of New                Increased Police/Fire/EMS service calls for overdoses
Franklin
                       http://www.newfranklin.org

Valley Fire District       Increased Police/Fire/EMS service calls for overdoses

                            http://www.valleyfire.us




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INTERROGATORY NO. 5:

       Identify and describe all alleged key opinion leaders (as that term is used throughout the

Complaint), alleged front groups, and other third parties with whom any Defendant allegedly

conspired or acted in concert in furtherance of the alleged misconduct described in the

Complaint, including the identity of each Defendant that allegedly conspired and all facts

supporting Plaintiff’s contention that such Defendant(s) did so.

PLAINTIFF’S RESPONSE:

       Plaintiff objects to this Interrogatory as overly broad and unduly burdensome in that it

seeks information that is uniquely in Defendants’ possession, and thus imposes an undue burden

and unnecessary expense on Plaintiff. Plaintiff further objects to this Request as vague, overly

broad and unduly burdensome to the extent it requests Plaintiff to identify and describe all key

opinion leaders, alleged front groups and other third parties. Further objecting, the Interrogatory

contains a reference to several ambiguous phrases, namely, “alleged front groups,” “allegedly

conspired,” “acted in concert,” “in furtherance of,” and “alleged misconduct”.

       Notwithstanding and without waiving this objection, Plaintiff states that discovery is

ongoing, and refers Defendants to Plaintiff’s Second Amended Complaint, which identifies key

opinion leaders, alleged front groups, and other third parties acting in concert with Defendants.

Plaintiff also responds that this Interrogatory is contention discovery more appropriately answered

once discovery is complete. See FRCP 33(a)(2). Furthermore, Plaintiff responds that discovery

continues and Plaintiff will produce a trial witness list and expert reports pursuant to CMO No. 1

and the Federal Rules of Civil Procedure.



INTERROGATORY NO. 6:

       Identify and describe all prescriptions of opioids that were written in the Plaintiff’s county,

city, village, or township in reliance on any alleged misrepresentations, omissions or other alleged


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wrongdoing by any Defendant. Include in the response the healthcare provider; the patient; the

date of prescription; which opioid or opioids were prescribed; the specific misrepresentation,

omission; or wrongdoing that allegedly caused the prescription to be written; the Defendant and

the specific sales representative(s), employee(s), or agent(s) of the Defendant that made or

committed the alleged misrepresentation, omission, or wrongdoing; the person or persons to

whom the alleged misrepresentation or omission was made or to whom the alleged wrongdoing

was directed; and whether, by whom, and for how much the prescription was approved for

reimbursement.

PLAINTIFF’S RESPONSE:

       Plaintiff objects to this Interrogatory because of its vast over breadth and in that it seeks

information that is not relevant to any party’s claim or defense, as Plaintiff is not representing the

interests of any individuals who were harmed by opioids or the interests of any payor of opioid

prescription costs; nor has Plaintiff alleged any False Claims Act counts. Plaintiff also objects to

this Interrogatory because it is not proportional to the needs of the case considering (1) the

marginal importance of the materials to the claims and defenses in this litigation, as described

above, and (2) the substantial cost and burden to the Plaintiff to identify and describe responsive

materials, and the substantial risk of harm to the privacy interests and rights held by the

individuals whose private medical files are the subject of this request. Plaintiff also responds that

this Interrogatory is contention discovery more appropriately answered once discovery is

complete, or until a pre-trial conference. See FRCP 33(a)(2). Furthermore, Plaintiff responds

that discovery continues and Plaintiff will produce a trial witness list and expert reports pursuant

to CMO No. 1 and the Federal Rules of Civil Procedure.




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INTERROGATORY NO. 7:

        Identify every person who allegedly became addicted to any substance or was otherwise

harmed as a result of any prescription of an opioid(s) in the Plaintiff’s county, city, village, or

township. Include in the identification of each such individual: (i) the particular type of alleged

harm that the individual experienced, (ii) the particular opioid(s) that he or she took and/or was

prescribed, (iii) when each prescription at issue was written, (iv) the condition for which each

prescription was written; and (v) the allegedly false, misleading, or deceptive statement or

omission that purportedly caused the healthcare provider to write the prescription.

PLAINTIFF’S RESPONSE:

        See answer to Interrogatory No. 6. Plaintiff objects to this Interrogatory as grossly over-

broad and unduly burdensome as propounded. Plaintiff objects because this Interrogatory seeks

information not relevant to any party’s claim or defense or the legal theories in this case. Subject

to and without waiving objections, Plaintiff responds that Plaintiff is not representing the

interests of any individuals who were harmed by opioids or the interests of any payor of opioid

prescription costs; nor has Plaintiff alleged any False Claims Act counts or other claims that

justify the burden of an Interrogatory this broad in scope. Plaintiff objects to this Interrogatory

because it is not proportional to the needs of the case considering (1) the lack of relevance or

importance of the materials to the claims and defenses in this litigation, as described above, and

(2) the substantial cost and burden to identify and describe responsive materials, which would

cause substantial harm to the privacy interests and rights held by the individuals whose private

medical files are the subject of this request. Plaintiff further objects to the extent this

Interrogatory calls for Confidential Information not in the Plaintiff’s possession and protected by

privacy laws, including but not limited to, the federal Health Insurance Portability and

Accountability Act (“HIPAA”).




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INTERROGATORY NO. 8:

        Identify any “unbranded advertising” or “unbranded marketing” (as those terms are used

throughout the Complaint) disseminated in the Plaintiff’s county, city, village, or township in

which any Defendant participated or to which any Defendant contributed in any way. Include in

the response the identity of the Defendant(s) that participated or contributed and the identity of

the person or persons to whom the “unbranded advertising” or “unbranded marketing” was

distributed.

PLAINTIFF’S RESPONSE:

        Plaintiff objects to this Interrogatory as vague, overly broad and unduly burdensome to the

extent it requests Plaintiff to identify any “unbranded advertising” or “unbranded marketing”

disseminated in Plaintiff’s jurisdiction in which any Defendant participated or contributed.

Plaintiff further objects to this Interrogatory to the extent it seeks information that is in

Defendants’ possession or publicly available, and thus imposes an undue burden and unnecessary

expense on Plaintiff. Notwithstanding and without waiving this objection, Plaintiff states that

discovery is ongoing, but Plaintiff’s current information on this subject is contained in Plaintiff’s

Second Amended Complaint, and any additional information will be supplemented as discovery

proceeds and pursuant to the Federal Rules of Civil Procedure. Plaintiff further responds that

discovery continues and Plaintiff will produce a trial witness list and expert reports pursuant to

CMO No. 1 and the Federal Rules of Civil Procedure.



INTERROGATORY NO. 9:

        Identify and describe all statements or omissions made or disseminated in the Plaintiff’s

county, city, village, or township by any Defendant (or any other person whose statements you

attribute, in whole or in part, to a Defendant) that you claim were false, misleading, unfair,

deceptive or otherwise actionable. Include in your identification of each statement or omission:


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(i) the name, employer, and position(s) of the speaker, writer, or other person who issued the

statement; (ii) the name(s) and position(s) of the recipient(s) of such statement; (iii) when and

where the allegedly false, misleading, or deceptive statement was made; (iv) a description of the

content of the statement; and (v) all reasons you claim the statement was false, misleading, or

deceptive.

PLAINTIFF’S RESPONSE:

       Plaintiff objects to this Interrogatory as vague, overly broad and unduly burdensome to

the extent it requests Plaintiff to identify and describe “all” statements or omissions made or

disseminated in Plaintiff’s jurisdiction by any Defendant that were false, misleading, unfair,

deceptive or otherwise actionable. Further objecting, the Interrogatory contains a reference to an

undefined phrase, “otherwise actionable.”

       Plaintiff further objects to the extent it seeks information that is in Defendants’

possession or publicly available, and thus imposes an undue burden and unnecessary expense on

Plaintiff. Notwithstanding and without waiving this objection, Plaintiff states that discovery is

ongoing, and Plaintiff’s current knowledge of this subject is reflected in Plaintiff’s Second

Amended Complaint, and any additional information will be supplemented as discovery proceeds

pursuant to CMO No. 1 and the Federal Rules of Civil Procedure.



INTERROGATORY NO. 10:

       Identify and describe all prescriptions of opioid(s) that Plaintiff contends were

unauthorized, medically unnecessary, ineffective, or harmful. Include in the response as to each

such prescription the healthcare provider; the patient; the date of prescription; which opioid or

opioids were prescribed; the basis for your assertion that the prescription was unauthorized,

medically unnecessary, ineffective, or harmful; and whether, by whom, and for how much the

prescription was approved for reimbursement.


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PLAINTIFF’S RESPONSE:

        See answer to Interrogatory No. 6. Plaintiff objects to this Interrogatory as overly broad

and unduly burdensome as propounded. Plaintiff objects because this Interrogatory seeks

information not relevant to any party’s claim or defense, or the legal theories in this case.

Subject to and without waiving objections, Plaintiff responds that Plaintiff is not representing the

interests of any individuals who were harmed by opioids or the interests of any payor of opioid

prescription costs; nor has Plaintiff alleged any False Claims Act counts or other claims that

justify the burden of an Interrogatory this broad in scope. Plaintiff objects to this Interrogatory

because it is not proportional to the needs of the case considering (1) the lack of relevance or

importance of the materials to the claims and defenses in this litigation, as described above, and

(2) the substantial cost to identify and describe responsive materials, which would cause

substantial harm to the privacy interests held by the individuals whose private medical files are

the subject of this request. Plaintiff further objects to the extent this Interrogatory calls for

Confidential Information not in the Plaintiff’s possession and protected by privacy laws.




Dated: May 25, 2018                                     Respectfully submitted,

                                                        By: /s/ Linda Singer________
                                                        Linda Singer

                                                        Joseph F. Rice
                                                        Jodi Westbrook Flowers
                                                        Anne McGinness Kearse
                                                        David I. Ackerman
                                                        Jeffrey C. Nelson
                                                        MOTLEY RICE LLC
                                                        401 9th Street NW, Suite 1001
                                                        Washington, DC 20004
                                                        Tel: (202) 232-5504




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                                CERTIFICATE OF SERVICE

       I, Jeffrey Nelson, certify that on May 25, 2018, I caused the foregoing to be served via

electronic mail on Defendant’s Liaison Counsel pursuant to the Case Management Order in this

case (ECF #232).

                                     /s/ Jeffrey Nelson______




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